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                                No. 23-90013
                UNITED STATES COURT OF APPEALS
                         FIFTH CIRCUIT

            In the Matter of Highland Capital Management, L.P.,
                                   Debtor.
               NEXPOINT ADVISORS, L.P. and
    HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.,
                                  Appellant

                                       v.

             HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                  Appellee
             On Appeal from the United States Bankruptcy Court
              for the Northern District of Texas, Dallas Division
                     Bankruptcy Case No. 19-34054-sgj11

              Appeal Pending in the United States District Court
              for the Northern District of Texas, Dallas Division
                          Case No. 3:23-cv-00573-E
                 APPELLEE’S RESPONSE TO
     APPELLANTS’ PETITION FOR PERMISSION TO APPEAL
 (DIRECT APPEAL FROM BANKRUPTCY COURT, 28 U.S.C. § 158(d))

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                      CERTIFICATE OF INTERESTED PERSONS

The undersigned counsel of record certifies that the following listed persons and
entities, as described in the fourth sentence of Rule 28.2.1, have an interest in the
outcome of this case. These representations are made in order that the judges of this
Court may evaluate possible disqualification or recusal:

1.      Appellants:
        NexPoint Advisors, L.P.
        Highland Capital Management Fund Advisors, L.P.

        Counsel for Appellants:

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2.      Appellee (Debtor):
        Highland Capital Management, L.P.

        Counsel for Appellee:

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      Appellee Highland Capital Management, L.P., the reorganized debtor in the

chapter 11 bankruptcy case below, respectfully responds to the Petition for

Permission to Appeal (Direct Appeal from Bankruptcy Court 28 U.S.C. § 158(d)),

filed in this Court on April 26, 2023 (the “Petition”), by the above-captioned

Appellants.

A.    Appellee Supports this Court’s Granting Direct Appeal

      Appellee agrees with Appellants and the Bankruptcy Court that a direct appeal

to this Court from the Bankruptcy Court’s Memorandum Opinion and Order on

Reorganized Debtor’s Motion to Conform Plan (the “Order”) will materially

advance the proceedings in the Bankruptcy Court. The Order implements this

Court’s mandate in Case No. 21-10499, in which, on direct appeal, the Court

affirmed the Bankruptcy Court’s order confirming the Debtor’s Fifth Amended Plan

of Reorganization of Highland Capital Management, L.P. (as Modified) (the “Plan”)

in all respects other than the scope of the Plan’s exculpation clause. On that one

issue, this Court held that certain non-debtor parties were categorically precluded

from exculpation by 11 U.S.C. § 524(e). In a revised opinion dated September 7,

2022 (the “Revised Opinion”), this Court reversed the confirmation order only in

that limited respect, “otherwise affirm[ed] the inclusion of the injunction and

gatekeeper provisions in the Plan,” and remanded the Bankruptcy Court’s

confirmation order for further proceedings consistent with the Revised Opinion.
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      The Revised Opinion is exactly the same as this Court’s earlier opinion in the

same case dated August 19, 2022 (the “First Opinion”)—except for the replacement

of a single sentence. If the appeal of the Order is adjudicated in the District Court,

Appellee believes that the non-prevailing party inevitably would seek further

appellate review in this Court. A direct appeal thus will save the parties substantial

time and expenses briefing and arguing an intermediate appeal, and thus also

conserve the District Court’s resources. Because this Court is all but certain to have

to resolve the issue on appeal in all events, a direct appeal will not add to this Court’s

caseload. A direct appeal will also expedite long-awaited finality of the confirmed

Plan in all respects.

      Only this Court can rule authoritatively on the scope of its prior mandate in

this case, and on whether the Order complies with this Court’s instruction that

“further proceedings” on remand be “consistent with” the Revised Opinion.

B.    Appellants Mischaracterize the Sole Issue in this Appeal

      The sole issue in this appeal is whether the Order on remand is consistent with

this Court’s mandate. Appellants argued in the Bankruptcy Court that this Court’s

Revised Opinion requires changes to be made to a “gatekeeper provision” in the Plan

that is separate and distinct from the Plan’s exculpation clause. Appellants based that

argument principally on the one-sentence difference between this Court’s Revised

Opinion and the First Opinion. In the First Opinion, this Court had stated that, “The



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injunction and gatekeeper provisions are, on the other hand, perfectly lawful.” The

Revised Opinion replaced that sentence with, “We now turn to the Plan’s injunction

and gatekeeper provisions.”

          In a written opinion, the Bankruptcy Court squarely rejected Appellants’

unsupported view that this one-sentence revision undermines the Court’s explicit

affirmance of the Plan’s gatekeeper provision. The Bankruptcy Court observed,

among other things, that the Revised Opinion retained in full this Court’s decision

to vacate only the extension of the Plan’s exculpation provision to certain non-

debtors, and “simply deleted the sentence stating that the gatekeeper provisions and

injunction are ‘perfectly lawful’ and otherwise left its initial affirmance of the

gatekeeper provisions and injunctions intact.” 1

          Appellants spend the bulk of their Petition mischaracterizing and disputing

the Plan, the gatekeeper provision, the First and Revised Opinions, the Order, the

record, and the sole issue on appeal, all in an attempt to re-litigate long-ago overruled

objections to the Plan.

          A direct appeal of the Order and the single, narrow question it poses is all that

is before this Court. Appellee respectfully urges the Court to grant a direct appeal of

the Order.




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    Order at 13.


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            CERTIFICATE OF COMPLIANCE WITH FRAP 5(c)

1.     This document complies with the word limit of Federal Rule of Appellate
Procedure 5(c) because, including footnotes but excluding portions permitted by rule
to be excluded, it contains 660 words.

2.     This document complies with the typeface requirements of Federal Rule of
Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of
Appellate Procedure 32(a)(6) (as required under Federal Rule of Appellate
Procedure 5(c)) because this document has been prepared in a proportionally-spaced
serif (Times New Roman) typeface at 14-point type (12-point for footnotes).

                                        /s/ Zachery Z. Annable
                                        Zachery Z. Annable


                          CERTIFICATE OF SERVICE

       I certify that, on May 8, 2023, the foregoing response was electronically filed
using the appellate CM/ECF system. I further certify that all participants in this case
are registered CM/ECF users and that service will be accomplished via CM/ECF.

                                        /s/ Zachery Z. Annable
                                        Zachery Z. Annable
